Case 2:O4-cr-20289-.]DB Document 47 Filed 07/01/05 Page 1 of 2 PagelD 46

 

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wEsTERN DivlsloN 05 JlJL -i Att 156
W\§%Di-§T§géiiii§
;ill. . b .:
uNiTED sTATEs oF AMEnicA, C\E;i',”bomr MEMS
Piainurr,
vs. th. No. 04-20289-01-3
BAHRY Ft-:FtousoN,
Detendant.

 

ORDEF{ ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on .June 23, 2005. At that time counsel tor
the defendant requested a continuance of the Juiy 5, 2005 trial date in order to allow for
disposition ot pending motions in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of lillonda){l duly 25, 2005l at 9:30 a.m., in Courtroom 1. 11th Floor of the
Federal Bui|ding, Niemphis, TN.

 

The period from Juiy 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy triai.

|T |S SO OFZDEFIED this ;Q day Of June, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:04-CR-20289 Was distributed by faX, mail, or direct printing on
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J. Patten BroWn

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Honorable J. Breen
US DISTRICT COURT

